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 5
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 6    LEEMANUEL WEILCH
 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
      LEEMANUEL WEILCH,                         Case No.:
11
                  Plaintiff,                    COMPLAINT FOR INJUNCTIVE
12                                              RELIEF AND DAMAGES FOR
            vs.                                 VIOLATION OF:
13
                                                1. AMERICANS WITH DISABILITIES
14    H 3 LIQUORS, INC. D/B/A SUPREME           ACT, 42 U.S.C. §12131 et seq.;
15    LIQUOR MART; BENNY HONG, AS               2. CALIFORNIA’S UNRUH CIVIL
      TRUSTEE OF THE BENNY AND                  RIGHTS ACT, CAL CIV. CODE §§ 51 -
16                                              52 et seq.;
      ANNIE Q HONG FAMILY TRUST; and
17    DOES 1 to 10,                             3. CALIFORNIA’S DISABLED
                                                PERSONS ACT, CAL CIV. CODE §54 et
18                Defendants.                   seq.
19                                              4. CALIFORNIA’S UNFAIR
                                                COMPETITION ACT, CAL BUS & PROF
20                                              CODE § 17200, et seq.
21                                              5. NEGLIGENCE
22
23
24
            Plaintiff LEEMANUEL WEILCH (“Plaintiff”) complains of Defendants H 3
      LIQUORS, INC. D/B/A SUPREME LIQUOR MART; BENNY HONG, AS TRUSTEE
25
26
      OF THE BENNY AND ANNIE Q HONG FAMILY TRUST; and DOES 1 to 10
      (“Defendants”) and alleges as follows:
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28
      //



                                   COMPLAINT FOR DAMAGES - 1
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 1                                  JURISDICTION AND VENUE
 2          1.     The Court has jurisdiction of this action pursuant to 28 USC §1331 for
 3    violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et seq.)
 4          2.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 5    arising from the same nucleus of operating facts, are also brought under California law,
 6    including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 7    54, 54., 54.3 and 55.
 8          3.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 9    property which is the subject of this action is located in this district, Los Angeles County,
10    California, and that Plaintiff’s causes of action arose in this district.
11                                              PARTIES
12          4.     Plaintiff is a California resident with a physical disability with substantial
13    limitation in his ability to walk. Plaintiff suffers from complete paraplegia due to a spinal
14    cord injury and requires the use of a wheelchair at all times when traveling in public.
15          5.     Defendants are, or were at the time of the incident, the real property owners,
16    business operators, lessors and/or lessees of the real property for SUPREME LIQUOR
17    MART (“Business”) located at or about 658 Magnolia Ave., Long Beach, California.
18          6.     The true names and capacities, whether individual, corporate, associate or
19    otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
20    who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
21    Court to amend this Complaint when the true names and capacities have been
22    ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
23    fictitiously named Defendants are responsible in some manner, and therefore, liable to
24    Plaintiff for the acts herein alleged.
25          7.     Plaintiff is informed and believes, and thereon alleges that, at all relevant
26    times, each of the Defendants was the agent, employee, or alter-ego of each of the other
27    Defendants, and/or was acting in concert with each of the other Defendants, and in doing
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                                     COMPLAINT FOR DAMAGES - 2
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 1    the things alleged herein was acting with the knowledge and consent of the other
 2    Defendants and within the course and scope of such agency or employment relationship.
 3          8.     Whenever and wherever reference is made in this Complaint to any act or
 4    failure to act by a defendant or Defendants, such allegations and references shall also be
 5    deemed to mean the acts and failures to act of each Defendant acting individually, jointly
 6    and severally.
 7                                  FACTUAL ALLEGATIONS
 8          9.     In or about July of 2020, Plaintiff visited the Business. In or about August of
 9    2020, Plaintiff revisited the Business. The Business is a liquor store business
10    establishment, which is open to the public, is a place of public accommodation and
11    affects commerce through its operation.
12          10.    While attempting to enter the Business during each visit, Plaintiff personally
13    encountered a number of barriers that interfered with his ability to use and enjoy the
14    goods, services, privileges, and accommodations offered at the Business. To the extent
15    of Plaintiff’s personal knowledge, the barriers at the Business included, but were not
16    limited to, the following:
17                 a.     Defendant failed to maintain the parking space designated for persons
18                        with disabilities to comply with the federal and state standards.
19                        Defendants failed to provide the access aisles with level surface
20                        slopes.
21                 b.     Defendant failed to maintain the parking space designated for persons
22                        with disabilities to comply with the federal and state standards.
23                        Defendants failed to maintain the facility to be readily accessible.
24          11.    These barriers and conditions denied Plaintiff the full and equal access to the
25    Business. Plaintiff wishes to patronize the Business. However, Plaintiff is deterred from
26    visiting the Business because his knowledge of these violations prevents him from
27    returning until the barriers are removed.
28




                                    COMPLAINT FOR DAMAGES - 3
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 1          12.    Based on the violations, Plaintiff alleges, on information and belief, that
 2    there are additional barriers to accessibility at the Business after further site inspection.
 3    Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
 4    Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
 5          13.    In addition, Plaintiff alleges, on information and belief, that Defendants
 6    knew that particular barriers render the Business inaccessible, violate state and federal
 7    law, and interfere with access for the physically disabled.
 8          14.    At all relevant times, Defendants had and still have control and dominion
 9    over the conditions at this location and had and still have the financial resources to
10    remove these barriers without much difficulty or expenses to make the Business
11    accessible to the physically disabled in compliance with ADDAG and Title 24
12    regulations. Defendants have not removed such barriers and have not modified the
13    Business to conform to accessibility regulations.
14                                    FIRST CAUSE OF ACTION
15        VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
16          15.    Plaintiff incorporates by reference each of the allegations in all prior
17    paragraphs in this complaint.
18          16.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
19    shall be discriminated against on the basis of disability in the full and equal enjoyment of
20    the goods, services, facilities, privileges, advantages, or accommodations of any place of
21    public accommodation by any person who owns, leases, or leases to, or operates a place
22    of public accommodation. See 42 U.S.C. § 12182(a).
23          17.    Discrimination, inter alia, includes:
24                 a.     A failure to make reasonable modification in policies, practices, or
25                        procedures, when such modifications are necessary to afford such
26                        goods, services, facilities, privileges, advantages, or accommodations
27                        to individuals with disabilities, unless the entity can demonstrate that
28                        making such modifications would fundamentally alter the nature of



                                      COMPLAINT FOR DAMAGES - 4
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 1                     such goods, services, facilities, privileges, advantages, or
 2                     accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
 3               b.    A failure to take such steps as may be necessary to ensure that no
 4                     individual with a disability is excluded, denied services, segregated or
 5                     otherwise treated differently than other individuals because of the
 6                     absence of auxiliary aids and services, unless the entity can
 7                     demonstrate that taking such steps would fundamentally alter the
 8                     nature of the good, service, facility, privilege, advantage, or
 9                     accommodation being offered or would result in an undue burden. 42
10                     U.S.C. § 12182(b)(2)(A)(iii).
11               c.    A failure to remove architectural barriers, and communication barriers
12                     that are structural in nature, in existing facilities, and transportation
13                     barriers in existing vehicles and rail passenger cars used by an
14                     establishment for transporting individuals (not including barriers that
15                     can only be removed through the retrofitting of vehicles or rail
16                     passenger cars by the installation of a hydraulic or other lift), where
17                     such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
18               d.    A failure to make alterations in such a manner that, to the maximum
19                     extent feasible, the altered portions of the facility are readily
20                     accessible to and usable by individuals with disabilities, including
21                     individuals who use wheelchairs or to ensure that, to the maximum
22                     extent feasible, the path of travel to the altered area and the
23                     bathrooms, telephones, and drinking fountains serving the altered
24                     area, are readily accessible to and usable by individuals with
25                     disabilities where such alterations to the path or travel or the
26                     bathrooms, telephones, and drinking fountains serving the altered
27                     area are not disproportionate to the overall alterations in terms of cost
28                     and scope. 42 U.S.C. § 12183(a)(2).



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 1          18.      Where parking spaces are provided, accessible parking spaces shall be
 2    provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
 3    eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
 4    (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
 5    Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
 6    be van parking space. 2010 ADA Standards § 208.2.4.
 7          19.      Under the 1991 Standards, parking spaces and access aisles must be level
 8    with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
 9    Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles
10    shall be part of an accessible route to the building or facility entrance and shall comply
11    with 4.3. Two accessible parking spaces may share a common access aisle. Parked
12    vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
13    and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
14    directions. 1991 Standards § 4.6.3.
15          20.      Here, the access aisles are not level with the parking spaces. Under the 2010
16    Standards, access aisles shall be at the same level as the parking spaces they serve.
17    Changes in level are not permitted. 2010 Standards § 502.4. “Access aisles are required
18    to be nearly level in all directions to provide a surface for transfer to and from vehicles.”
19    2010 Standards § 502.4 Advisory. Id. No more than a 1:48 slope is permitted.
20          21.      At least one accessible route shall connect accessible building, facilities,
21    elements, and spaces that are on the same site. 1991 ADA Standards § 4.3.2. A public
22    accommodation shall maintain in operable working condition those features of facilities
23    and equipment that are required to be readily accessible to and usable by persons with
24    disabilities by the Act or this part. 28 C.F.R. 35.211(a).
25          22.      Here, Defendants failed to clear the access aisles as there were objects such
26    as bollards.
27          23.      A public accommodation shall maintain in operable working condition those
28    features of facilities and equipment that are required to be readily accessible to and usable



                                      COMPLAINT FOR DAMAGES - 6
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 1    by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a). By failing to
 2    maintain the facility to be readily accessible and usable by Plaintiff, Defendants are in
 3    violation of Plaintiff’s rights under the ADA and its related regulations.
 4          24.    The Business has denied and continues to deny full and equal access to
 5    Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
 6    discriminated against due to the lack of accessible facilities, and therefore, seeks
 7    injunctive relief to alter facilities to make such facilities readily accessible to and usable
 8    by individuals with disabilities.
 9                                  SECOND CAUSE OF ACTION
10                    VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
11          25.    Plaintiff incorporates by reference each of the allegations in all prior
12    paragraphs in this complaint.
13          26.    California Civil Code § 51 states, “All persons within the jurisdiction of this
14    state are free and equal, and no matter what their sex, race, color, religion, ancestry,
15    national origin, disability, medical condition, genetic information, marital status, sexual
16    orientation, citizenship, primary language, or immigration status are entitled to the full
17    and equal accommodations, advantages, facilities, privileges, or services in all business
18    establishments of every kind whatsoever.”
19          27.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
20    or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
21    for each and every offense for the actual damages, and any amount that may be
22    determined by a jury, or a court sitting without a jury, up to a maximum of three times the
23    amount of actual damage but in no case less than four thousand dollars ($4,000) and any
24    attorney’s fees that may be determined by the court in addition thereto, suffered by any
25    person denied the rights provided in Section 51, 51.5, or 51.6.
26          28.    California Civil Code § 51(f) specifies, “a violation of the right of any
27    individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
28    shall also constitute a violation of this section.”



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 1          29.    The actions and omissions of Defendants alleged herein constitute a denial
 2    of full and equal accommodation, advantages, facilities, privileges, or services by
 3    physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
 4    Defendants have discriminated against Plaintiff in violation of California Civil Code §§
 5    51 and 52.
 6          30.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
 7    difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
 8    damages as specified in California Civil Code §55.56(a)-(c).
 9                                  THIRD CAUSE OF ACTION
10                 VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
11          31.    Plaintiff incorporates by reference each of the allegations in all prior
12    paragraphs in this complaint.
13          32.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
14    entitled to full and equal access, as other members of the general public, to
15    accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
16    and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
17    railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
18    of transportation (whether private, public, franchised, licensed, contracted, or otherwise
19    provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
20    places of public accommodations, amusement, or resort, and other places in which the
21    general public is invited, subject only to the conditions and limitations established by
22    law, or state or federal regulation, and applicable alike to all persons.
23          33.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
24    corporation who denies or interferes with admittance to or enjoyment of public facilities
25    as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
26    individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
27    the actual damages, and any amount as may be determined by a jury, or a court sitting
28    without a jury, up to a maximum of three times the amount of actual damages but in no



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 1    case less than one thousand dollars ($1,000) and any attorney’s fees that may be
 2    determined by the court in addition thereto, suffered by any person denied the rights
 3    provided in Section 54, 54.1, and 54.2.
 4           34.   California Civil Code § 54(d) specifies, “a violation of the right of an
 5    individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
 6    constitute a violation of this section, and nothing in this section shall be construed to limit
 7    the access of any person in violation of that act.
 8           35.   The actions and omissions of Defendants alleged herein constitute a denial
 9    of full and equal accommodation, advantages, and facilities by physically disabled
10    persons within the meaning of California Civil Code § 54. Defendants have
11    discriminated against Plaintiff in violation of California Civil Code § 54.
12           36.   The violations of the California Disabled Persons Act caused Plaintiff to
13    experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
14    statutory damages as specified in California Civil Code §55.56(a)-(c).
15                                 FOURTH CAUSE OF ACTION
16                                 UNFAIR COMPETITION ACT
17           37.   Plaintiff incorporates by reference each of the allegations in all prior
18    paragraphs in this complaint.
19           38.   Defendants have engaged in unfair competition, unfair or fraudulent
20    business practices, and unfair, deceptive, untrue or misleading advertising in violation of
21    the Unfair Competition Act. Bus & Prof. Code §§ 17200 et seq.
22           39.   Defendants engage in business practices and policies that create systemic
23    barriers to full and equal access for people with disability in violation of state and federal
24    law.
25           40.   The actions and omissions of Defendants are unfair and injurious to
26    Plaintiff, a consumer of the Business’ goods and services. As a result of Defendants’
27    unfair business practice and policies, Plaintiff suffered injury in fact. Plaintiff was not
28    provided with goods and services provided to other consumers. Plaintiff seeks relief



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 1     necessary to prevent Defendants’ continued unfair business practices and policies and
 2     restitution of any month that Defendants acquired by means of such unfair competition,
 3     including profits unfairly obtained.
 4                                     FIFTH CAUSE OF ACTION
 5                                            NEGLIGENCE
 6            41.    Plaintiff incorporates by reference each of the allegations in all prior
 7     paragraphs in this complaint.
 8            42.    Defendants have a general duty and a duty under the ADA, Unruh Civil
 9     Rights Act and California Disabled Persons Act to provide safe and accessible facilities
10     to the Plaintiff.
11            43.    Defendants breached their duty of care by violating the provisions of ADA,
12     Unruh Civil Rights Act and California Disabled Persons Act.
13            44.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
14     has suffered damages.
15                                       PRAYER FOR RELIEF
16            WHEREFORE, Plaintiff respectfully prays for relief and judgment against
17     Defendants as follows:
18            1.     For preliminary and permanent injunction directing Defendants to comply
19     with the Americans with Disability Act and the Unruh Civil Rights Act;
20            2.     Award of all appropriate damages, including but not limited to statutory
21     damages, general damages and treble damages in amounts, according to proof;
22            3.     Award of all reasonable restitution for Defendants’ unfair competition
23     practices;
24            4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
25     action;
26            5.     Prejudgment interest pursuant to California Civil Code § 3291; and
27            6.     Such other and further relief as the Court deems just and proper
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                                     COMPLAINT FOR DAMAGES - 10
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 1                                DEMAND FOR TRIAL BY JURY
 2           Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
 3     demands a trial by jury on all issues so triable.
 4
 5     Dated: November 24, 2020                       SO. CAL. EQUAL ACCESS GROUP
 6
 7
 8                                             By:   _/s/ Jason J. Kim_______________
                                                     Jason J. Kim, Esq.
 9                                             Attorneys for Plaintiff
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                                     COMPLAINT FOR DAMAGES - 11
